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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
THE SOUTHERN POVERTY                                )
 LAW CENTER, et al.,                                )
                                                    )
                  Plaintiff,                        )
                                                    )
         v.                                         )        Civil Action No. 19-3438 (CJN)
                                                    )
 UNITED STATES DEPARTMENT OF                        )
 HOMELAND SECURITY, et al.,                         )
                                                    )
                  Defendants.                       )


                                    JOINT STATUS REPORT

       Pursuant to the Court’s October 26, 2021, Minute Order, Plaintiffs, Southern Poverty Law

Center and Al Otro Lado (“Plaintiffs”), and the United States Department of Homeland Security

(“DHS”) and the United States Customs and Border Protection (“CBP”) (collectively

“Defendants”), by and through undersigned counsel, hereby provide the Court with the following

status report.

       1.        Since the Parties’ last Joint Status Report dated March 14, 2025, Defendants issued

two interim determinations to Plaintiff: the 54th determination on March 31, 2025, and the 55th

determination on April 30, 2025. For the 54th response, CBP reviewed 871 pages of records and

one spreadsheet. 560 pages and one spreadsheet were released in full or in part, and 311 pages

were not responsive or duplicates. For the 55th response, CBP reviewed 787 pages of records. 746

pages were released in full or in part, and forty-one pages were duplicates. Plaintiffs note that

many of these documents are heavily redacted and that it is not clear that all of the redactions were

appropriate and will continue to meet and confer with Defendants on this issue.
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       2.      CBP is endeavoring to review the records produced by its electronic search at a rate

of at least 750 potentially responsive pages per month even after the December 31, 2021, expiration

of the Court’s Minute Order, dated April 12, 2021. Pursuant to Plaintiff’s request, Defendant

expects to prioritize the processing and production of potentially responsive records located using

Plaintiff’s narrowed search terms provided in November 2023.

       3.      The Parties will report back to the Court through the filing of a Joint Status Report

by July 14, 2025, in accordance with the Court’s October 26, 2021, Minute Order.



Dated: May 13, 2025                          Respectfully submitted,

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